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   7                          UNITED STATES DISTRICT COURT
   8                        CENTRAL DISTRICT OF CALIFORNIA
   9

  10                                                  Case No. 2:21-cv-01949-MCS-
            BRAINIUM STUDIOS LLC,                     MRWx
  11
                       Plaintiff,
  12                                                   STIPULATED PROTECTIVE
                                                       ORDER
  13
                 v.                                    DISCOVERY MATTER
  14

  15                                                  ‫ ܆‬Check if submitted without
            KOOAPPS LLC,
  16                                                  material modifications to MRW form
                       Defendant.
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  20   1.      INTRODUCTION
  21           1.1    PURPOSES AND LIMITATIONS
  22           Discovery in this action is likely to involve production of confidential,
  23   proprietary, or private information for which special protection from public
  24   disclosure and from use for any purpose other than prosecuting this litigation may
  25   be warranted. Accordingly, the Parties hereby stipulate to and petition the Court to
  26   enter the following Stipulated Protective Order. The Parties acknowledge that this
  27   Order does not confer blanket protections on all disclosures or responses to
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   1   discovery and that the protection it affords from public disclosure and use extends
   2   only to the limited information or items that are entitled to confidential treatment
   3   under the applicable legal principles. The parties further acknowledge, as set forth
   4   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
   5   file confidential information under seal; Civil Local Rule 79-5 sets forth the
   6   procedures that must be followed and the standards that will be applied when a party
   7   seeks permission from the court to file material under seal.
   8         1.2    GOOD CAUSE STATEMENT
   9         The Parties to this Stipulated Protective Order conduct business in highly
  10   competitive environments of downloadable gaming applications. Preservation of
  11   the confidentiality of their proprietary non-public information is crucial to the
  12   success of their businesses. In this case, such confidential and proprietary materials
  13   and information consist of, among other things, confidential business, financial, and
  14   sales information, confidential marketing and advertisement strategy, advertising
  15   and ad monetization agreements that are subject to confidentiality clauses with
  16   third-parties, information regarding the creation of intellectual property and other
  17   confidential research and development, and other forms of information generally
  18   unavailable to the public that may be privileged or otherwise protected from
  19   disclosure under state or federal statutes, court rules, case decisions, or common
  20   law. This disclosure of such information to third parties, as well as the unauthorized
  21   use of such information by the Parties to this Stipulated Protective Order, could
  22   place the owner of such information at a substantial competitive disadvantage and
  23   financial loss.
  24         Accordingly, to expedite the exchange of information, to facilitate the prompt
  25   resolution of disputes over the confidentiality of discovery materials, to adequately
  26   protect information the Parties are entitled to preserve as confidential, to ensure that
  27   the Parties are permitted reasonably necessary uses of such material in preparation
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   1   for and in the conduct of trial, to address the handling of such material at the
   2   conclusion of this litigation, and to serve the ends of justice, a protective order is
   3   justified in this matter. It is the intent of the parties that information will not be
   4   designated as confidential for tactical reasons, and that no information be so
   5   designated without a good-faith belief that it has been maintained in a confidential,
   6   non-public manner, and that there is good cause why it should not be part of the
   7   public record in this case.
   8   2.    DEFINITIONS
   9         2.1    Action: this pending federal lawsuit: Brainium Studios LLC v.
  10   Kooapps LLC, Case No. 2:21-cv-01949-MCS-MRW.
  11         2.2    Challenging Party: a Party or Non-Party that challenges the
  12   designation of information or items under this Order.
  13         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  14   how it is generated, stored or maintained) or tangible things that qualify for
  15   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  16   the Good Cause Statement.
  17         2.4    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  18   Information or Items: information (regardless of how generated, stored, or
  19   maintained) or tangible things that a Designating Party believes in good faith to be
  20   extremely confidential and/or sensitive in nature and reasonably believes that
  21   disclosure of such information or tangible things is likely to cause material
  22   economic harm to the Producing Party. HIGHLY CONFIDENTIAL –
  23   ATTORNEYS’ EYES ONLY information or tangible things is only viewable by
  24   counsel for the Parties and other persons specified in Section 7.3. The Parties agree
  25   that the HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY designation
  26   includes the following categories of information, to the extent the criteria of the first
  27   sentence of Section 2.4 are met: (i) advertising and ad monetization agreements
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   1   subject to confidentiality agreements with third-parties, and (ii) commercially
   2   sensitive technical information, including design and development materials
   3   associated with each Party’s products.
   4          2.5    Counsel: Outside Counsel of Record and House Counsel (as well as
   5   their support staff).
   6          2.6    Designating Party: a Party or Non-Party that designates information or
   7   items that it produces in disclosures or in responses to discovery as
   8   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   9   ONLY.”
  10          2.7    Disclosure or Discovery Material: all items or information, regardless
  11   of the medium or manner in which it is generated, stored, or maintained (including,
  12   among other things, testimony, transcripts, and tangible things), that are produced or
  13   generated in disclosures or responses to discovery in this matter.
  14          2.8    Expert: a person with specialized knowledge or experience in a matter
  15   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  16   an expert witness or as a consultant in this Action.
  17          2.9    House Counsel: attorneys who are employees of a party to this Action.
  18   House Counsel does not include Outside Counsel of Record or any other outside
  19   counsel.
  20          2.10 Non-Party: any natural person, partnership, corporation, association, or
  21   other legal entity not named as a Party to this action.
  22          2.11 Outside Counsel of Record: attorneys who are not employees of a
  23   party to this Action but are retained to represent or advise a party to this Action and
  24   have appeared in this Action on behalf of that party or are affiliated with a law firm
  25   which has appeared on behalf of that party, and includes support staff.
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   1         2.12 Party: any party to this Action, including all of its officers, directors,
   2   employees, consultants, retained experts, and Outside Counsel of Record (and their
   3   support staffs).
   4         2.13 Producing Party: a Party or Non-Party that produces Disclosure or
   5   Discovery Material in this Action.
   6         2.14 Professional Vendors: persons or entities that provide litigation
   7   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
   8   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   9   and their employees and subcontractors.
  10         2.15 Protected Material: any Disclosure or Discovery Material that is
  11   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  12   ATTORNEYS’ EYES ONLY”
  13         2.16 Receiving Party: a Party that receives Disclosure or Discovery
  14   Material from a Producing Party.
  15   3.    SCOPE
  16         The protections conferred by this Stipulation and Order cover not only
  17   Protected Material (as defined above), but also (1) any information copied or
  18   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  19   compilations of Protected Material; and (3) any testimony, conversations, or
  20   presentations by Parties or their Counsel that might reveal Protected Material.
  21         Any use of Protected Material at trial will be governed by the orders of the
  22   trial judge. This Order does not govern the use of Protected Material at trial.
  23   4.    DURATION
  24         Even after final disposition of this litigation, the confidentiality obligations
  25   imposed by this Order will remain in effect until a Designating Party agrees
  26   otherwise in writing or a court order otherwise directs. Final disposition will be
  27   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
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   1   or without prejudice; and (2) final judgment herein after the completion and
   2   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
   3   including the time limits for filing any motions or applications for extension of time
   4   pursuant to applicable law.
   5   5.    DESIGNATING PROTECTED MATERIAL
   6         5.1    Exercise of Restraint and Care in Designating Material for Protection.
   7   Each Party or Non-Party that designates information or items for protection under
   8   this Order must take care to limit any such designation to specific material that
   9   qualifies under the appropriate standards. The Designating Party must designate for
  10   protection only those parts of material, documents, items, or oral or written
  11   communications that qualify so that other portions of the material, documents,
  12   items, or communications for which protection is not warranted are not swept
  13   unjustifiably within the ambit of this Order.
  14         Mass, indiscriminate, or routinized designations are prohibited. Designations
  15   that are shown to be clearly unjustified or that have been made for an improper
  16   purpose (e.g., to unnecessarily encumber the case development process or to impose
  17   unnecessary expenses and burdens on other parties) may expose the Designating
  18   Party to sanctions.
  19         If it comes to a Designating Party’s attention that information or items that it
  20   designated for protection do not qualify for protection, that Designating Party must
  21   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  22         5.2    Manner and Timing of Designations. Except as otherwise provided in
  23   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  24   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  25   under this Order must be clearly so designated before the material is disclosed or
  26   produced.
  27         Designation in conformity with this Order requires:
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   1         (a) for information in documentary form (e.g., paper or electronic documents,
   2   but excluding transcripts of depositions or other pretrial or trial proceedings), that
   3   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
   4   “CONFIDENTIAL legend”) or the legend “HIGHLY CONFIDENTIAL –
   5   ATTORNEYS’ EYES ONLY” (hereinafter, “HIGHLY CONFIDENTIAL legend”),
   6   to each page that contains protected material. If only a portion or portions of the
   7   material on a page qualifies for protection, the Producing Party also must clearly
   8   identify the protected portion(s) (e.g., by making appropriate markings in the
   9   margins).
  10         A Party or Non-Party that makes original documents available for inspection
  11   need not designate them for protection until after the inspecting Party has indicated
  12   which documents it would like copied and produced. During the inspection and
  13   before the designation, all of the material made available for inspection will be
  14   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  15   documents it wants copied and produced, the Producing Party must determine which
  16   documents, or portions thereof, qualify for protection under this Order. Then, before
  17   producing the specified documents, the Producing Party must affix the
  18   “CONFIDENTIAL legend” or “HIGHLY CONFIDENTIAL legend” to each page
  19   that contains Protected Material. If only a portion or portions of the material on a
  20   page qualifies for protection, the Producing Party also must clearly identify the
  21   protected portion(s) (e.g., by making appropriate markings in the margins).
  22         (b) for testimony given in depositions that the Designating Party identify the
  23   Disclosure or Discovery Material on the record, before the close of the deposition all
  24   protected testimony.
  25         (c) for information produced in some form other than documentary and for
  26   any other tangible items, that the Producing Party affix in a prominent place on the
  27   exterior of the container or containers in which the information is stored the legend
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   1   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   2   ONLY.” If only a portion or portions of the information warrants protection, the
   3   Producing Party, to the extent practicable, will identify the protected portion(s).
   4             5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
   5   failure to designate qualified information or items does not, standing alone, waive
   6   the Designating Party’s right to secure protection under this Order for such material.
   7   Upon timely correction of a designation, the Receiving Party must make reasonable
   8   efforts to assure that the material is treated in accordance with the provisions of this
   9   Order.
  10   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
  11             6.1   Timing of Challenges. Any Party or Non-Party may challenge a
  12   designation of confidentiality at any time that is consistent with the Court’s
  13   Scheduling Order.
  14             6.2   Meet and Confer. The Challenging Party will initiate the dispute
  15   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
  16   et seq.
  17             6.3   The burden of persuasion in any such challenge proceeding will be on
  18   the Designating Party. Frivolous challenges, and those made for an improper
  19   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  20   parties) may expose the Challenging Party to sanctions. Unless the Designating
  21   Party has waived or withdrawn the confidentiality designation, all parties will
  22   continue to afford the material in question the level of protection to which it is
  23   entitled under the Producing Party’s designation until the Court rules on the
  24   challenge.
  25   7.        ACCESS TO AND USE OF PROTECTED MATERIAL
  26             7.1   Basic Principles. A Receiving Party may use Protected Material that is
  27   disclosed or produced by another Party or by a Non-Party in connection with this
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   1   Action only for prosecuting, defending, or attempting to settle this Action. Such
   2   Protected Material may be disclosed only to the categories of persons and under the
   3   conditions described in this Order. When the Action has been terminated, a
   4   Receiving Party must comply with the provisions of section 13 below (FINAL
   5   DISPOSITION).
   6         Protected Material must be stored and maintained by a Receiving Party at a
   7   location and in a secure manner that ensures that access is limited to the persons
   8   authorized under this Order.
   9         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
  10   otherwise ordered by the court or permitted in writing by the Designating Party, a
  11   Receiving Party may disclose any information or item designated
  12   “CONFIDENTIAL” only to:
  13               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
  14   well as employees of said Outside Counsel of Record to whom it is reasonably
  15   necessary to disclose the information for this Action;
  16               (b) the officers, directors, and employees (including House Counsel) of
  17   the Receiving Party to whom disclosure is reasonably necessary for this Action;
  18               (c) Experts (as defined in this Order) of the Receiving Party to whom
  19   disclosure is reasonably necessary for this Action and who have signed the
  20   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  21               (d) the Court and its personnel;
  22               (e) court reporters and their staff;
  23               (f) professional jury or trial consultants, mock jurors, and Professional
  24   Vendors to whom disclosure is reasonably necessary for this Action and who have
  25   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  26               (g) the author or recipient of a document containing the information or a
  27   custodian or other person who otherwise possessed or knew the information;
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   1               (h) during their depositions, witnesses, and attorneys for witnesses, in the
   2   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   3   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
   4   will not be permitted to keep any confidential information unless they sign the
   5   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
   6   agreed by the Designating Party or ordered by the court. Pages of transcribed
   7   deposition testimony or exhibits to depositions that reveal Protected Material may
   8   be separately bound by the court reporter and may not be disclosed to anyone except
   9   as permitted under this Stipulated Protective Order; and
  10               (i) any mediator or settlement officer, and their supporting personnel,
  11   mutually agreed upon by any of the parties engaged in settlement discussions.
  12         7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  13   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
  14   writing by the Designating Party, a Receiving Party may disclose any information or
  15   item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only
  16   to:
  17         (a)      the Receiving Party’s Outside Counsel of Record in this action, as well
  18   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  19   to disclose the information for this Action;
  20         (b)      Experts of the Receiving Party to whom disclosure is reasonably
  21   necessary for this Action and who have signed the “Acknowledgement and
  22   Agreement to Be Bound” (Exhibit A);
  23         (c)      the court and its personnel;
  24         (d)      court reporters and their staff;
  25         (e)      professional jury or trial consultants, mock jurors, and Professional
  26   Vendors to whom disclosure is reasonably necessary for this Action and who have
  27   signed the “Acknowledgement and Agreement to Be Bound” (Exhibit A);
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   1         (f)      the author or recipient of a document containing the information or a
   2   custodian or other person who otherwise possessed or know the information;
   3         (g)      any mediator or settlement officer, and their supporting personnel,
   4   mutually agreed upon by any of the Parties engaged in settlement discussions.
   5   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   6   IN OTHER LITIGATION
   7         If a Party is served with a subpoena or a court order issued in other litigation
   8   that compels disclosure of any information or items designated in this Action as
   9   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  10   ONLY,” that Party must:
  11               (a) promptly notify in writing the Designating Party. Such notification
  12   will include a copy of the subpoena or court order;
  13               (b) promptly notify in writing the party who caused the subpoena or order
  14   to issue in the other litigation that some or all of the material covered by the
  15   subpoena or order is subject to this Protective Order. Such notification will include
  16   a copy of this Stipulated Protective Order; and
  17               (c) cooperate with respect to all reasonable procedures sought to be
  18   pursued by the Designating Party whose Protected Material may be affected.
  19         If the Designating Party timely seeks a protective order, the Party served with
  20   the subpoena or court order will not produce any information designated in this
  21   action as “CONFIDENTIAL” and “HIGHLY CONFIDENTIAL – ATTORNEYS’
  22   EYES ONLY” before a determination by the court from which the subpoena or
  23   order issued, unless the Party has obtained the Designating Party’s permission. The
  24   Designating Party will bear the burden and expense of seeking protection in that
  25   court of its confidential material and nothing in these provisions should be construed
  26   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  27   directive from another court.
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   1   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   2   PRODUCED IN THIS LITIGATION
   3             (a) The terms of this Order are applicable to information produced by a
   4   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
   5   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced by
   6   Non-Parties in connection with this litigation is protected by the remedies and relief
   7   provided by this Order. Nothing in these provisions should be construed as
   8   prohibiting a Non-Party from seeking additional protections.
   9             (b) In the event that a Party is required, by a valid discovery request, to
  10   produce a Non-Party’s confidential information in its possession, and the Party is
  11   subject to an agreement with the Non-Party not to produce the Non-Party’s
  12   confidential information, then the Party will:
  13                (1) promptly notify in writing the Requesting Party and the Non-Party
  14   that some or all of the information requested is subject to a confidentiality
  15   agreement with a Non-Party;
  16                (2) promptly provide the Non-Party with a copy of the Stipulated
  17   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  18   specific description of the information requested; and
  19                (3) make the information requested available for inspection by the
  20   Non-Party, if requested.
  21             (c) If the Non-Party fails to seek a protective order from this court within
  22   14 days of receiving the notice and accompanying information, the Receiving Party
  23   may produce the Non-Party’s confidential information responsive to the discovery
  24   request. If the Non-Party timely seeks a protective order, the Receiving Party will
  25   not produce any information in its possession or control that is subject to the
  26   confidentiality agreement with the Non-Party before a determination by the court.
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   1   Absent a court order to the contrary, the Non-Party will bear the burden and expense
   2   of seeking protection in this court of its Protected Material.
   3   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   4         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   5   Protected Material to any person or in any circumstance not authorized under this
   6   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   7   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   8   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   9   persons to whom unauthorized disclosures were made of all the terms of this Order,
  10   and (d) request such person or persons to execute the “Acknowledgment and
  11   Agreement to Be Bound” that is attached hereto as Exhibit A.
  12   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  13   PROTECTED MATERIAL
  14         When a Producing Party gives notice to Receiving Parties that certain
  15   inadvertently produced material is subject to a claim of privilege or other protection,
  16   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  17   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  18   procedure may be established in an e-discovery order that provides for production
  19   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
  20   (e), insofar as the parties reach an agreement on the effect of disclosure of a
  21   communication or information covered by the attorney-client privilege or work
  22   product protection, the parties may incorporate their agreement in the stipulated
  23   protective order submitted to the court.
  24   12.   MISCELLANEOUS
  25         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  26   person to seek its modification by the Court in the future.
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   1         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   2   Protective Order no Party waives any right it otherwise would have to object to
   3   disclosing or producing any information or item on any ground not addressed in this
   4   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   5   ground to use in evidence of any of the material covered by this Protective Order.
   6         12.3 Filing Protected Material. A Party that seeks to file under seal any
   7   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   8   only be filed under seal pursuant to a court order authorizing the sealing of the
   9   specific Protected Material at issue. If a Party's request to file Protected Material
  10   under seal is denied by the court, then the Receiving Party may file the information
  11   in the public record unless otherwise instructed by the court.
  12   13.   FINAL DISPOSITION
  13         After the final disposition of this Action, as defined in paragraph 4, within 60
  14   days of a written request by the Designating Party, each Receiving Party must return
  15   all Protected Material to the Producing Party or destroy such material. As used in
  16   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  17   summaries, and any other format reproducing or capturing any of the Protected
  18   Material. Whether the Protected Material is returned or destroyed, the Receiving
  19   Party must submit a written certification to the Producing Party (and, if not the same
  20   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  21   (by category, where appropriate) all the Protected Material that was returned or
  22   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  23   abstracts, compilations, summaries or any other format reproducing or capturing any
  24   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  25   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  26   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  27   reports, attorney work product, and consultant and expert work product, even if such
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                                                 14        CASE NO. 2:21-CV-01949-MCS-MRW
                                                                STIPULATED PROTECTIVE ORDER
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   1   materials contain Protected Material. Any such archival copies that contain or
   2   constitute Protected Material remain subject to this Protective Order as set forth in
   3   Section 4 (DURATION).
   4   14.   Any willful violation of this Order may be punished by civil or criminal
   5   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
   6   authorities, or other appropriate action at the discretion of the Court.
   7   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   8

   9   DATED: September 14, 2021 THE MCARTHUR LAW FIRM, P.C.
  10

  11                                    /s/ Thomas Dietrich
                                        Thomas Dietrich (SBN 254282)
  12                                    Stephen C. McArthur (SBN 277712)
  13                                    Attorneys for Plaintiff
                                        Brainium Studios LLC
  14

  15   DATED: September 14, 2021 WILSON SONSINI GOODRICH & ROSATI, P.C.
  16
  17                                    /s/ Victor Jih
                                        Victor Jih (SBN 186515)
  18                                    Russell L. Kostelak (SBN 338449)
  19                                    Attorneys for Defendant
                                        Kooapps LLC
  20

  21

  22   ATTESTATION: I, Victor Jih, am the ECF User whose identification and password
  23   are being used to file this document and, pursuant to Local Rule 5-4.3.4, attest that all
  24   signatories here have concurred in this filing.
  25   Dated: September 14, 2021 /s/ Victor Jih
  26

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   1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   2

   3

   4          9/14/2021
       DATED:_______________                 __________________________________
                                             HON. MICHAEL R. WILNER
   5                                         United States Magistrate Judge
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                                            16      CASE NO. 2:21-CV-01949-MCS-MRW
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   1                                         EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States
   7   District Court for the Central District of California on [date] in the case of
   8   ___________ [insert case name and number]. I agree to comply with and to be
   9   bound by all the terms of this Stipulated Protective Order and I understand and
  10   acknowledge that failure to so comply could expose me to sanctions and punishment
  11   in the nature of contempt. I solemnly promise that I will not disclose in any manner
  12   any information or item that is subject to this Stipulated Protective Order to any
  13   person or entity except in strict compliance with the provisions of this Order.
  14         I further agree to submit to the jurisdiction of the United States District Court
  15   for the Central District of California for the purpose of enforcing the terms of this
  16   Stipulated Protective Order, even if such enforcement proceedings occur after
  17   termination of this action. I hereby appoint __________________________ [full
  18   name] of _______________________________________ [full address and
  19   telephone number] as my California agent for service of process in connection with
  20   this action or any proceedings related to enforcement of this Stipulated Protective
  21   Order.
  22   Date: ______________________________________
  23   City and State where signed: _________________________________
  24

  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
  28
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                                                                 STIPULATED PROTECTIVE ORDER
